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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MAINE
______________________________
                               )
ADRIANNA WADSWORTH,            )
                               )
            Plaintiff,         )
                               )
v.                             )
                               )
                               )  Civil Action No. ________________________
MSAD 40/RSU 40,                )
MEDOMAK VALLEY HIGH            )
SCHOOL, ANDREW                 )
CAVANAUGH,                     )
and CHUCK NGUYEN.              )
                               )
            Defendants.        )
______________________________)

             PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

                                       INTRODUCTION

       Plaintiff, Adrianna Wadsworth (“Plaintiff” or “Ms. Wadsworth”), seeks relief under Title

IX of the Education Amendments of 1972, 20 U.S.C. § 1681 (“Title IX”) against Defendants

MSAD 40/RSU 40 and Medomak Valley High School. Plaintiff also asserts common law tort

and statutory claims against Defendants Andrew Cavanaugh and Chuck Nguyen. (Defendants

MSAD 40/RSU 40, Medomak Valley High School, Andrew Cavanaugh and Chuck Nguyen are

referred to collectively herein as “Defendants”.) Plaintiff seeks to recover damages, interest,

costs, and attorneys’ fees.

                                            PARTIES

       1.      Plaintiff is an individual with a principal residence in Sydney, Maine.

       2.      Defendant MSAD 40/RSU 40 is a school district which encompasses the

following Maine towns: Friendship, Union, Waldoboro, Warren, and Washington.



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        3.     Defendant Medomak Valley High School is located in Waldoboro, Maine, and is

part of the MSAD 40/RSU 40 school district.

        4.     Defendants MSAD 40/RSU 40 and Medomak Valley High School receive federal

financial assistance and are subject to the provisions of Title IX, Education Amendments of

1972, § 901(a), 20 U.S.C. § 1681.

        5.     Mr. Cavanaugh (“Defendant Cavanaugh”) is an individual who, on information

and belief, has a principal residence in the State of Maine.

        6.     Mr. Nguyen (“Defendant Nguyen”) is an individual who, on information and

belief, has a principal residence in the State of Maine.

                                         JURISDICTION

        7.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 based on

questions of federal and constitutional law.

        8.     Venue is appropriate, pursuant to 28 U.S.C. § 1391(b), in the District of Maine as

the events and conduct complained of herein occurred in the District of Maine.

                                               FACTS

        9.     Plaintiff is a 19-year-old female who currently resides in Sydney, Maine.

        10.    Plaintiff was a student at Medomak Valley High School from 2014 through her

graduation in June 2018.

        11.    Defendant Cavanaugh became the principal of Medomak Valley High School in

2015.

        12.    At all times relevant to this matter, Defendant Nguyen was the social worker at

Medomak Valley High School.




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       13.     MSAD 40/RSU 40 and Medomak Valley High School have a policy that prohibits

sexual harassment.

       14.     MSAD 40/RSU 40 and Medomak Valley High School’s sexual harassment policy

states, “Sexual harassment includes but is not limited to unwelcome sexual advances, requests

for sexual favors, or pressure to engage in sexual activity, physical contact of a sexual nature,

gestures, comments, or other physical, written, graphic, electronic or verbal conduct that is

gender-based that interferes with a student’s education.”

       15.     At some point during Plaintiff’s junior year of high school, when she was 16

years old, Defendant Cavanaugh began to pay special attention to Plaintiff.

       16.     While Plaintiff was a junior in high school, Defendant Cavanaugh made sexually

based comments on Plaintiff’s looks and clothing choices in front of students and staff members.

       17.     Defendant Cavanaugh purchased personal hygiene products for Plaintiff and gave

them to her in front of other teachers and students.

       18.     Plaintiff reported the gifts to Defendant Nguyen during her junior year and asked

whether this was “normal”.

       19.     Defendant Nguyen assured Plaintiff that Defendant Cavanaugh was being nice to

her and that there was nothing inappropriate about the gifts.

       20.     Plaintiff participated in the sport of cheerleading, and in order to continue

participating, she was required to undergo a physical examination by a doctor.

       21.     Defendant Cavanaugh advised Plaintiff that he would bring her to this doctor’s

appointment.




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        22.      Plaintiff approached Defendant Nguyen and asked if this was appropriate, and

Defendant Nguyen assured her that Defendant Cavanaugh was just trying to be a “father figure”

to Plaintiff.

        23.      On another occasion, Defendant Cavanaugh advised Plaintiff that she should be

on birth control, and when this was brought up to Defendant Nguyen, he again told Plaintiff that

this was normal.

        24.      At some point during Plaintiff’s junior year, Defendant Cavanaugh began sending

Plaintiff text messages on a regular basis.

        25.      Between April 2017 and November 2017, Defendant Cavanaugh and Plaintiff

exchanged approximately 5,000 text messages.

        26.      Throughout this time, Defendant Cavanaugh provided gifts to Plaintiff, including

money, which he would give to her directly, deposit into her school lunch account, or leave with

the secretary.

        27.      Throughout this time, Defendant Cavanaugh called Plaintiff into his office on a

regular basis, causing her to miss class.

        28.      Throughout this time, Defendant Cavanaugh commented on Plaintiff’s looks and

clothing choices in front of teachers, students, and Defendant Nguyen.

        29.      Defendant Cavanaugh sent sexually explicit and inappropriate text messages to

Plaintiff at all hours of the day, including while she was at school, and at night, including

messages at 2:00 a.m.

        30.      On April 22, 2017, Defendant Cavanaugh sent a text message to Plaintiff and

stated, “Hah hah. That’s right, a guy would rather you tell him he makes you sick to your




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stomach! Because that way, at least he has a chance! But telling him he’s like a brother, well you

might just as well shoot him right in the head!”

         31.   Defendant Cavanaugh texted, “I won’t rat you our. Jesus the spell check corrected

rat to get “eat.” That would have been awful to send that!”

         32.   On April 25, 2017, when discussing Plaintiff’s potential prom date, Defendant

Cavanaugh texted Plaintiff, “Is he a friend or does he have ‘expectations?’”

         33.   Plaintiff did not respond to that text message, and Defendant Cavanaugh again

sent Plaintiff a text message and asked her to stop by his office “right now”.

         34.   Plaintiff responded that she was busy doing school work.

         35.   Defendant Cavanaugh then texted Plaintiff and asked her “And is [redacted] like a

brother to you?” and Plaintiff again did not respond.

         36.   When Plaintiff did not respond, Defendant Cavanaugh texted, “Three minutes.”

         37.   The following day, while he was at Medomak Valley High School, Defendant

Cavanaugh asked Plaintiff when she could stop in to see him.

         38.   Plaintiff responded that she was not at school.

         39.   Defendant Cavanaugh texted, “Are you avoiding my questions about [redacted]?”

         40.   Plaintiff responded by asking what the question was.

         41.   Defendant Cavanaugh responded “Hah hah. The question was….is he like a

brother or does he have ‘expectations?’”

         42.   Plaintiff stated, “I mean he likes me but he’s really polite and wouldn’t want

that.”




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        43.      Defendant Cavanaugh responded, “First question to ask yourself- is he a man? If

the answer is yes, then reconsider your premise. Hah hah. . . . Don’t refer to the act as “it”

because it sounds like a commodity like soybeans or corn.”

        44.      In a follow up text message, Defendant Cavanaugh stated, “For you the phrase,

‘being intimate,’ works. It gets the point across, without sounding cheap.”

        45.      On April 29, 2017, Defendant Cavanaugh texted Plaintiff, “I assume when you

say ‘turn on’ you are speaking about betrayal. I don’t think you mean that you are really hot and

people just get turned on when they are around you. Hah hah.”

        46.      On May 1, 2017, Defendant Cavanaugh texted Plaintiff, “So why have you been

so quiet to me the past few days?

        47.      When Plaintiff did not respond, Defendant Cavanaugh texted, “Perhaps I have

offended you.”

        48.      On May 2, 2017, Defendant Cavanaugh texted Plaintiff and asked if she had any

time to stop in and see him.

        49.      When Plaintiff did not respond, Defendant Cavanaugh texted, “Yes, no, maybe,

fo?”

        50.      Plaintiff responded that she was busy with school work.

        51.      Defendant Cavanaugh texted, “Ok. Just remember, im one of the good guys.”

        52.      Defendant Cavanaugh asked Plaintiff how she was doing.

        53.      Plaintiff responded, “Fine”.

        54.      Defendant Cavanaugh texted, “Are you sure i have not offended you? You seem

distant.”




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       55.       On May 5, 2017, Defendant Cavanaugh texted “Would you like to meet with me

for a few minutes this morning?”

       56.       When Plaintiff did not respond, Defendant Cavanaugh texted, “Seriously, come

down and see me for a few minutes. Don’t you have a study hall right now?”

       57.       Plaintiff responded and said she was making up school work she had missed.

       58.       Defendant Cavanaugh texted, “Do you have any interest in going to outward

bound this summer? Free of charge…They are expensive, but I have one scholarship.”

       59.       Defendant Cavanaugh texted Plaintiff, “I know you check your phone ebery thirty

seconds. You ok? . . . Youwill think i am a baby but i worry about you.”

       60.       On May 13, 2017, Defendant Cavanaugh texted, “What are you doing tonight?

Tomorrow?”

       61.       When Plaintiff did not respond, Defendant Cavanaugh texted, “I am only making

conversation. I wont ask u to do anytjing . Lol.”

       62.       On May 16, 2017, Defendant Cavanaugh texted Plaintiff, “Turn off the filter in

your head and tell me what happened.”

       63.       Plaintiff did not respond, and Defendant Cavanaugh texted, “Anytime you are

ready. . . I know you can see my messages. You should just respond.”

       64.       The following morning, Defendant Cavanaugh texted, “Hmmmm. Are you in

school today?”

       65.       When Plaintiff responded affirmatively, Defendant Cavanaugh texted, “Girl, i

thought you were kidnapped! . . . Why so quiet?”

       66.       On May 17, 2017, Defendant Cavanaugh offered Plaintiff money for prom.

       67.       Plaintiff responded that she did not need money and would feel bad taking it.



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       68.     Defendant Cavanaugh texted “Well obviously i dont want you to feel bad. I just

ask that you keep it quiet as i don’t want people to think you get special treatment. Besides at

some point you will need to do some work for me (This is not part of your pay, its just a fringe

benefit)”

       69.     Defendant Cavanaugh texted Plaintiff, “Besidez me, who is spoiling you?”

       70.     Plaintiff responded with two redacted names.

       71.     Defendant Cavanaugh texted, “Well tell them to stop.”

       72.     Defendant Cavanaugh’s text messages were persistent, and if Plaintiff did not

respond in a timely manner, Defendant Cavanaugh proceeded to text incessantly until Plaintiff

responded.

       73.     On May 18, 2017, Defendant Cavanaugh texted, “You should live here for your

senior year. It would be a stable place and i don’t care about child support.. . . I think if you

talked with Debbie and i about it we could take care of a lot. I would write a letter to the

superintendent and all that.”

       74.     Later that day, in references to prom dresses, Defendant Cavanaugh texted, “Hah

hah. It would be hatd for you to not look sexy, but i get the point. Send me a picture and i will

tell you straight up how you look.”

       75.     Defendant Cavanaugh texted Plaintiff “Hah hah. Your body shape is perfect for

dresses and everything else. And, you should be a ‘little’ scandalous. I think it’s a beautiful dress

and i am sure you will look absolutely fantastic. Make sure you get your nails painted bright red

as well!”

       76.     On May 30, 2017, Defendant Cavanaugh texted Plaintiff, “Out of curiosity, do

you have a new bf, love interest or whatever you might call it?”



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       77.     On June 6, 2017, Defendant Cavanaugh texted Plaintiff, “Have you ever sent

pictures of yourself to anyone? By pictures I mean of you in the nude.”

       78.     On June 10, 2017, Defendant Cavanaugh texted Plaintiff, “Girls just don’t like

you hanging around their boyfriends because you are too good looking. That’s the bottom line

lady time.”

       79.     On June 12, 2017, Defendant Cavanaugh texted Plaintiff, “I think you meant

snow suit, but a show suit might be pretty good! Hah hah. Have fun! No booze! . . . I think the

suit you wore in my pool was definitely a show suit!”

       80.     On June 17, 2017, in regard to a girls state competition, Defendant Cavanaugh

texted Plaintiff, “If you dont go it will be hard for me to give you the principals award, which i

want to do.”

       81.     On June 21, 2017, after several unanswered text messages, Defendant Cavanaugh

texted, “I just saw the new senior class with rankings. Of course its top secret but guess who

holds the number 2 spot?”

       82.     Throughout this time, Defendant Cavanaugh continued to ask Plaintiff to move in

with him on a regular basis.

       83.     On June 22, 2017, Defendant Cavanaugh texted, “I have a bit of bad news. I

spoke with work about you staying with me and i cant. I feel terrible but thats what it is.”

       84.     On June 26, 2017, Plaintiff asked Defendant Cavanaugh if they could meet.

Defendant Cavanaugh responded, “Sounds scandalous. Where are you.”

       85.     On July 5, 2017, Defendant Cavanaugh advised Plaintiff that he had purchased a

vehicle for her and that she could work for him to pay it off.




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        86.    Defendant Cavanaugh texted, “Dont worry cupcake, i wont sell you into white

slavery.”

        87.    On July 7, 2017, Defendant Cavanaugh texted Plaintiff the following successive

messages, “Way past the three miniute response rule!”; “Did you die?”; “If it didn’t sound

creepy i might threaten you with a spanking.”; “Nothing huh? I dont want to worry about you.

Sup?”

        88.    On July 21, 2017, Defendant Cavanaugh texted Plaintiff, “You are like a daughter

to me. Hah hah. . . Maybe a scandalous step daughter. Hah hah. If you buy car insurance how

would you afford those lacey shorts?”

        89.    On July 27, 2017, Defendant Cavanaugh texted Plaintiff, “How casual is sex with

your friends? Like is it no big deal or what?”

        90.    During the summer, Defendant Cavanaugh asked Plaintiff to send him photos of

her at the beach.

        91.    On July 30, 2017, Defendant Cavanaugh texted Plaintiff, “Can I see the photos or

would that bother you? Only send the scandalous ones! Ha hah.”

        92.    On August 1, 2017, Defendant Cavanaugh texted Plaintiff, “Whats the sports

illustrated swimsuit model up to today?”

        93.    On August 2, 2017, Defendant Cavanaugh texted Plaintiff, “Can you help me on

Friday or will you be taking more nude pictures of yourself?”

        94.    Defendant Cavanaugh then texted, “Don’t be a baby. I am just having fun with

you. I cant joke with anyone about the pictures (or show them to anyone) except you. They are

great shots though.”




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        95.    On August 4, 2017, Defendant Cavanaugh texted, “Well you are extremely

attractive. That’s just a fact. Young women like attention from men, but only to a point. Men

cant see it tgat way.”

        96.    Later that night, Defendant Cavanaugh texted, “”Hah hah. Ok now get your

Mickey mouse neglige on and go to bed. Hah hah.”

        97.    Defendant Cavanaugh then texted, “Im deleting our conversations, and the

swimsuit pictures, as much as i hate to! Hah hah.”

        98.    On August 10, 2017, Defendant Cavanaugh texted Plaintiff, “Did you have a date

tonight?”

        99.    On August 21 2017, Defendant Cavanaugh texted Plaintiff, “If you forget your

bikini, you can just use some dental floss instead.”

        100.   On August 23, 2017, Defendant Cavanaugh texted Plaintiff, “I am surprised you

didn’t go to the beach today. You wont have many more days to wear that dental floss bikini.”

        101.   On September 1, 2017, Defendant Cavanaugh texted Plaintiff, “Are you like a

black widow? . . . The black widow spider female kills the male spider after they have sex. Did

you know that? The expression “black widow” describes women who kill their

boyfriends/husbands. I am guessing you have a new love interest on the horizon.”

        102.   On September 4, 2017, during a conversation about Plaintiff getting a new job,

Defendant Cavanaugh texted Plaintiff, “That’s because she is not distracted by your good looks!

Hah.”

        103.   On September 9, 2017, Defendant Cavanaugh texted Plaintiff and told her the

girls soccer coach was fired. He followed up by telling her it was confidential information.




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        104.   On September 10, 2017, Defendant Cavanaugh texted Plaintiff, “I know I am too

wonderful for words. Its just one more thing I do. Can you see now how I am so irrestible? . . .

Girl, you know I got game.”

        105.   On September 18, 2017. Defendant Cavanaugh texted, “And did I see a picture of

you in an extremely racy bathing suit? It was on the mvhs staff folder and you standing on the

dock at Camden harbor.”

        106.   On September 18, 2017, Defendant Cavanaugh texted Plaintiff, “If I was a college

admission person I would want to read about how you seduced Christmas but that might not have

anything to do with admissions.”

        107.   Plaintiff was pulled over for speeding in September 2017, and the police officer

expressed concern about the fact that the vehicle was owned and registered by Defendant

Cavanaugh.

        108.   On September 19, 2017, Defendant Cavanaugh notified Plaintiff that he would

need the car back and texted, “I like to help you and it does seem to cause problems. I know you

are super hot and that probably does influence me, but you must know by now that I really do

like you as a person.”

        109.   Defendant Cavanaugh texted, “I doubt you would ever come close to the things I

have done. I like you and I don’t think you could tell me anything that would change my opinion

of you. I just need the truth. I can be the one person you are honest with. I will always do my

best to protect you and help you.”

        110.   On September 20, 2017, Defendant Cavanaugh texted, “Have you had the ‘O’

yet?”




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       111.    On September 22, 2017, in a conversation about a school trip, Defendant

Cavanaugh texted Plaintiff, “Good, I am glad you are going. I would like to go as well, but can

you imagine those rumors? Hah hah. Flattering for me, but maybe not so much for you! Hah!

…Like I said for me if makes me look like a playuh but for u it makes it look like you are

robbing the wheelchair.”

       112.    On September 25, 2017, Defendant Cavanaugh texted, “Well at least I’m not

getting the topless cheerleading routine. Of course that might be worth more than one missed

French class. Tell the truth, do I do what you ask because you bat your eyes?”

       113.    On September 26, 2017, Defendant Cavanaugh texted, “Don’t challenge me

woman. I would hit you so hard, you would starve to death before you quit rolling.”

       114.    On September 27, 2017, in a conversation about the car Defendant Cavanaugh

had given to Plaintiff, Defendant Cavanaugh texted, “There is some grief but its my actions are

above board, pretty much. Hah hah.”

       115.    On October 6, 2017, Defendant Cavanaugh texted Plaintiff, “I might have to give

you a spanking.”

       116.    On October 9, 2017, Defendant Cavanaugh texted Plaintiff, “I bet if I slapped you

a couple times you would be mine forever!”

       117.    On October 11, 2017, Defendant Cavanaugh texted Plaintiff, “I am keeping an

eye on you. You would be a fun girl to go to college with!”

       118.    Defendant Cavanaugh then texted Plaintiff, “But have you had the O yet? . . .

You just need some practice . . . You should try yourself and then it will be easier for you.”

       119.    On October 28, 2017, Defendant Cavanaugh texted Plaintiff, “Well that’s great.

Don’t ignore me or I might just give you a spanking. Jesus!”



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       120.    On October 30, 2017, Defendant Cavanaugh texted Plaintiff, “The whole school

reminds you of your influence with me just about every day.”

       121.    In the fall of 2017, a third party notified the Waldoboro Police Department of the

inappropriate relationship between Defendant Cavanaugh and Plaintiff.

       122.    The school district put Defendant Cavanaugh on leave pending the results of the

police investigation.

       123.    Subsequently, Defendant Nguyen called Plaintiff into his office and stated that

Defendant Cavanaugh had a drinking problem.

       124.    During the investigation and in subsequent months, Plaintiff was contacted and

harassed by Defendant Cavanaugh’s family members.

       125.    Defendant Cavanaugh resigned his position as principal in December 2017.

       126.    Plaintiff became emotionally withdrawn and alienated from her peers, sports, and

classes.

       127.    On multiple occasions, Plaintiff was unable to attend school because she was so

depressed.

       128.    Plaintiff was the subject of ridicule and bullying as a result of Defendant

Cavanaugh’s inappropriate relationship with her.

       129.    Plaintiff turned 18 on January 3, 2018.

       130.    Plaintiff began seeing a counselor on April 23, 2018.

       131.    Plaintiff graduated high school in the spring of 2018.

       132.    Plaintiff’s counselor diagnosed her with adjustment disorder, social anxiety, and

worsened depression as a direct result of the emotionally traumatic relationship with Defendant

Cavanaugh.



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        133.    As a result of Defendants’ actions, Plaintiff has suffered damages, including, but

not limited to, severe emotional distress and other damages.

                                COUNTS OF THE COMPLAINT

                             -COUNT I-
                       VIOLATION OF TITLE IX
     (AGAINST DEFENDANTS MSAD 40/RSU 40 and MEDOMAK VALLEY HIGH
                             SCHOOL)

        134.    Plaintiff hereby restates and incorporates each paragraph of this Complaint as if

fully stated herein.

        135.    MSAD 40/RSU 40 and Medomak Valley High School receive federal financial

assistance.

        136.    Title IX provides that “[n]o person shall, on the basis of sex, be excluded from

participation in, be denied the benefits of, or be subjected to discrimination under any education

program receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

        137.    Defendant MSAD 40/RSU 40 and Medomak Valley High School have a policy

prohibiting sexual harassment of students.

        138.    Throughout Plaintiff’s junior and senior year, she was subjected to daily sexual

harassment and discrimination by Defendant Cavanaugh.

        139.    Defendant Cavanaugh, as principal and school official, had the authority to

institute corrective measures to protect Plaintiff and failed to do so.

        140.    Defendant Nguyen, the social worker and mandatory reporter, had a duty to report

Plaintiff’s complaints to the School Department and had authority to institute corrective

measures to protect Plaintiff, and failed to do so.




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        141.     MSAD 40/RSU 40 and Medomak Valley High School, through their agents,

Defendant Cavanaugh and Defendant Nguyen, were aware of Defendant Cavanaugh’s sexual

harassment of Plaintiff, and acted with deliberate indifference toward Plaintiff.

        142.     As a direct and proximate result of Defendant MSAD 40/RSU 40 and Medomak

Valley High School’s deliberate indifference to Defendant Cavanaugh’s sexual harassment and

discrimination against Plaintiff, Plaintiff has suffered damages in an amount to be determined at

trial, plus cost of suit.

        143.     Plaintiff seeks her attorneys’ fees under 42 U.S.C. § 1988.

                                        -COUNT II-
                                VIOLATION OF 20 U.S.C. § 1983
                                    (ALL DEFENDANTS)

        144.     Plaintiff hereby restates and incorporates each paragraph of this Complaint as if

fully stated herein.

        145.     Section 1983 of Title 42 prohibits a person acting under color of state law from

depriving any other person of any rights, privileges or immunities secured by the United States

Constitution.

        146.     Defendant Cavanaugh deprived Plaintiff of her rights by, among other acts and

omissions, his failure to abide by laws preventing harassment and discrimination against students

in schools.

        147.     Defendant Nguyen deprived Plaintiff of her rights by, among other acts and

omissions, his failure to protect Plaintiff when she complained about sexual harassment and

discrimination by Defendant Cavanaugh.

        148.     Defendants MSAD 40/RSU 40 and Medomak Valley High School deprived

Plaintiff of her rights by, among other acts and omissions, their failure to follow, apply, or



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enforce laws preventing harassment and discrimination in schools, and their failure to adequately

train or supervise employees about their obligation to properly investigate and address incidents

of sexual harassment in public schools.

        149.    As a direct and proximate result of Defendants’ acts and omissions, Plaintiff has

suffered damages in an amount to be determined at trial, plus costs.

        150.    Plaintiff seeks her attorneys’ fees under 42 U.S.C. § 1988.

                             COUNT III:
             NEGLIGENT HIRING, TRAINING AND SUPERVISION
     (AGAINST DEFENDANT MSAD 40/RSU 40 AND MEDOMAK VALLEY HIGH
                              SCHOOL)

        151.    Plaintiff hereby restates and incorporates each paragraph of this Complaint as if

fully stated herein.

        152.    Defendants MSAD 40/RSU 40 and Medomak Valley High School have a duty to

adequately investigate, train, and supervise their employees so as to protect their students from

harm caused by unfit and dangerous individuals hired to work in the School District.

        153.    Defendants MSAD 40/RSU 40 and Medomak Valley High School knew or

should have known before the School District hired Defendant Cavanaugh that he was unfit to be

a principal of Medomak Valley High School .

        154.    Defendants MSAD 40/RSU 40 and Medomak Valley High School had a duty to

train and educate their employees, including Defendant Cavanaugh and Defendant Nguyen, on

their sexual harassment policy and inappropriate boundary crossing with students.

        155.    Defendants MSAD 40/RSU 40 and Medomak Valley High School were negligent

in their hiring, training and/or supervision of Defendant Cavanaugh and Defendant Nguyen,

which negligence was a proximate cause of Plaintiff’s injuries.




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        156.    Defendants MSAD 40/RSU 40 and Medomak Valley High School failed to

provide their employees with adequate, appropriate, and necessary policies, training, and

supervision in regard to appropriate student-teacher relationships.

        157.    Defendants MSAD 40/RSU 40 and Medomak Valley High School recklessly and

negligently failed to implement and/or enforce policies and procedures aimed at preventing or

detecting harassment of their students.

        158.    Had Defendants MSAD 40/RSU 40 and Medomak Valley High School

adequately performed their duties and responsibilities, Plaintiff would not have been subjected to

sexual harassment and discrimination.

        159.    As a result of Defendants’ actions, Plaintiff has suffered damages in an amount to

be determined at trial.

                                  -COUNT IV-
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                              (ALL DEFENDANTS)

        160.    Plaintiff hereby restates and incorporates each paragraph of this Complaint as if

fully stated herein.

        161.    At all times material to this Complaint, Defendant Cavanaugh was the principal of

Medomak Valley High School, and he used this position to gain Plaintiff’s trust and friendship.

        162.    Defendant Cavanaugh, acting with knowledge of his superior position and his

special relationship with Plaintiff, and realizing Plaintiff’s special susceptibility to emotional

distress due to Plaintiff’s age, inexperience, and vulnerability, commenced a course of flattery

and favoritism toward Plaintiff so that he could ultimately harass her.

        163.    Defendant Cavanaugh’s actions of sexually harassing Plaintiff on a daily basis,

including persistently sending her sexually explicit messages, while she was at school, at work,



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at home, and with friends and family members, were intentional, willful, oppressive and

malicious, and were intended to cause emotional distress to Plaintiff.

        164.     Defendant Cavanaugh’s actions were extreme, outrageous, beyond the bounds of

decency and utterly intolerable in a civilized society.

        165.     At all times material to this Complaint, Defendant Nguyen was the social worker

at Medomak Valley High School.

        166.     After Plaintiff voiced her concerns about Defendant Cavanaugh’s conduct directly

to Defendant Nguyen, Defendant Nguyen intended to cause, or at least should have known that

his actions would cause, emotional distress when he failed to protect Plaintiff from Defendant

Cavanaugh by assuring Plaintiff that Defendant Cavanaugh’s inappropriate actions were not

inappropriate.

        167.     Defendant MSAD 40/RSU 40 and Medomak Valley High School intended to

cause, or at least should have known that their actions would cause, emotional distress to

Plaintiff when they failed to protect her from the malicious, oppressive, and willful advances of

Defendant Cavanaugh, the principal of the school.

        168.     As a direct result of Defendants’ actions, Plaintiff has suffered severe emotional

distress and has suffered damages in an amount to be determined at trial.

                                   -COUNT V-
                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                               (ALL DEFENDANTS)

        169.     Plaintiff hereby restates and incorporates each paragraph of this Complaint as if

fully stated herein.

        170.     Defendant MSAD 40/RSU 40 and Medomak Valley High School, the School

District, owed a duty to protect Plaintiff from sexual harassment and discrimination.



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       171.    Defendant Cavanaugh, the principal of Medomak Valley High School, owed a

duty to protect Plaintiff from sexual harassment and discrimination.

       172.    Defendant Nguyen, the social worker at Medomak Valley High School, owed a

duty to protect Plaintiff from sexual harassment and discrimination.

       173.    Defendants breached that duty of care by their negligent conduct.

       174.    As a result of Defendants’ actions, Plaintiff has suffered severe emotional

distress, resulting in adjustment disorder and social anxiety, and and other damages.

                                COUNT VI:
                               NEGLIGENCE
               (DEFENDANT NGUYEN AND DEFENDANT CAVANAUGH)

       175.    Defendant Nguyen is a social worker at Medomak Valley High School.

       176.    Defendant Nguyen has a duty to protect students, including Plaintiff, from sexual

harassment and discrimination.

       177.    Plaintiff reported Defendant Cavanaugh’s inappropriate behavior to Defendant

Nguyen.

       178.    Defendant Nguyen breached his duty to Plaintiff by, among other things, advising

Plaintiff that Defendant Cavanaugh’s behavior was normal, and thus encouraging her to continue

the relationship.

       179.    As a direct and proximate result of Defendant Nguyen’s negligence, Plaintiff

suffered damages in an amount to be determined at trial.

                                    PRAYER FOR RELIEF

       Plaintiff prays that this Honorable Court award a judgment in her favor and against the

Defendants, for the following relief:

       1.      Compensatory and consequential damages;



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      2.     Costs and expenses of this action;

      3.     Attorneys’ fees;

      4.     Prejudgment and post-judgment interest; and

      5.     Such further relief as the Court deems fair and just.

                                       JURY DEMAND

      Plaintiff hereby demands a trial by jury on every claim so triable.


             Respectfully submitted,
                                            Adrianna Wadsworth

                                            By her attorneys,



Dated: 12/26/2019                                 /s/ Eric R. LeBlanc*
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